                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                           NO.    5:14-CT-3163-FL



SHI DONG PING,,                      )
     a/k/a Ping Dong Shi,            )
                                     )
           Plaintiff,                )     DEFENDANTS’ APPENDIX TO
                                     )     LOCAL CIVIL RULE 56.1
           v.                        )     STATEMENT OF MATERIAL
                                     )     FACTS
WARDEN C. RATLEDGE, ET AL.,          )
                                     )
           Defendants.               )



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The blue boxes surrounding the page numbers signify
a hyperlink. The blue boxes do not appear when this           Def. Appendix 1
document is printed.

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Respectfully submitted this 17th day of March, 2016.

                            JOHN STUART BRUCE
                            Acting United States Attorney


                            BY: /s/ Kimberly A. Moore
                            KIMBERLY A. MOORE
                            Attorney for Defendants
                            United States Attorney=s Office
                            Civil Division
                            310 New Bern Avenue, Suite 800
                            Raleigh, NC 27601
                            Telephone: (919) 856-4359
                            Fax: (919) 856-4487
                            Email: kimberly.moore@usdoj.gov
                            N.C. Bar No. 21477




                                                        Def. Appendix 2


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                          CERTIFICATE OF SERVICE


    I do hereby certify that I have this 17th day of March,

2016, served a copy of the foregoing upon the below listed party

by placing a copy of the same in the U.S. Mail, addressed as

follows:


Shi Dong Ping
No. 50259-053
Butner Medium I-F.C.I.
P.O. Box 1000
Butner, NC 27509



                                 BY: /s/ Kimberly A. Moore
                                 KIMBERLY A. MOORE
                                 Attorney for Defendants
                                 United States Attorney=s Office
                                 Civil Division
                                 310 New Bern Avenue, Suite 800
                                 Raleigh, NC 27601
                                 Telephone: (919) 856-4359
                                 Fax: (919) 856-4487
                                 Email: kimberly.moore@usdoj.gov
                                 N.C. Bar No. 21477




                                                             Def. Appendix 3


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                                                       Def. Appendix 4


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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                           NO.   5:14-CT-3163-FL

SHI DONG PING,                     )
     a/k/a Ping Dong Shi,          )
                                   )
                  Plaintiff,       )
                                   )     DECLARTION OF
                  v.               )     JUSTIN F. ANDREWS
                                   )
WARDEN C. RATLEDGE, ET AL.,         )
                                    )
                  Defendants.       )


        I, Justin F. Andrews, declare and state as follows:

        1.   I am currently employed by the United States Department

of Justice, Federal Bureau of Prisons ("BOP"), as the Warden at

the Federal Correctional Institution II, in Butner, North

Carolina ("FCI Butner II").        I have held this position since

November of 2013.      Prior to becoming Warden at FCI Butner II, I

was Warden at the Federal Correctional Institution in Butner,

North Carolina ("FCI Butner") from July 2012, through November

2013.

        2.   As Warden of FCI Butner, I exercised final ruling

authority on institution-level appeals of administrative

grievances filed by inmates at FCI Butner.          I was also

responsible for reviewing requests submitted by FCI Butner




                                                               Def. Appendix 5


        Case 5:14-ct-03163-FL Document 39 Filed 03/17/16 Page 5 of 20
inmates for a reduction in sentence, pursuant to BOP Program

Statement 5050.49, Compassionate Release, Reduction in Sentence.

     3.   I am familiar with FCI Butner inmate Shi Dong Ping,

Register No. 50259-053. 1   I am aware that he has filed the above-

captioned federal civil rights action, in which I am named as a

defendant.   Mr. Ping alleges that I violated his Constitutional

rights by ignoring his requests for information regarding his

medical condition.   He alleges that I had full knowledge of his

medical condition, and the actions of the Utilization Review

Committee at the Federal Medical Center in Butner, North

Carolina ("FMC Butner"), and that I acted with deliberate

indifference to his serious medical condition.

     4.   In the fall of 2012, Mr. Ping requested a reduction in

sentence, based upon his medical condition.       In a memorandum

dated November 26, 2012, I provided a written response to him,

informing him that his medical condition was reviewed, and that

based upon his stable condition at that time, his request for a

reduction in sentence was denied.     See Memorandum to Ping Dong

Shi, 50259-053, from Warden J. Andrews (Nov. 26, 2012), attached

hereto as Attachment 1.

     5.   In August of 2013, Mr. Ping filed an administrative

remedy request at the institution level, requesting a detailed

1
   Official BOP records list the plaintiff's name as Ping Dong
Shi. However, for the purposes of responding to this
litigation, the plaintiff will be referred to as Shi Dong Ping.
                                  2                   Def. Appendix 6


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                                          I   i




written explanation of his medical condition, specifically

concerning his throat.    On September 10, 2013, I signed an

informational response to Mr. Ping, detailing his condition and

the treatment he was being provided.          I encouraged him to

address his treatment plan and questions with his physician.

See Request for Administrative Remedy, Part B - Response, Admin

Remedy Number 747214-F1 (Sept. 10, 2013), attached hereto as

Attachment 2.

     6.    I deny that I ever intentionally violated any of Mr.

Ping's constitutional rights.      At no time did I have any

personal involvement in the medical care provided to him, nor

did I have any involvement into the treatment decisions made by

his treatment providers or the Utilization Review Committee at

FMC Butner.     As the Warden, I was not involved in the day-to-day

decisions of FCI Butner staff as it relates to the medical care

provided to inmates.     The responses to Mr. Ping's request for

reduction in sentence and his administrative remedy were

prepared for my signature by administrative staff, based upon a

review of the appropriate records, including his medical

records.

     Pursuant to 28 U.S.C.    §   1746, I declare under penalty of

perjury that the foregoing is true and correct to the best of my

 knowledge and belief.



                                      3                       Def. Appendix 7


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                 r--t\-'t
Executed this   f~      day of March, 2016.




                                Correctional Institution II
                        Butner, North Carolina




                                 4                     Def. Appendix 8


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                                                            U.S. Department of Justice
                                                            Federal Bureau of Prisons
                                                            Federal Correctional Institution I
                                                            P.O. Box 1000
                                                            Butner, NC 27509




D-Zl.TE:                     Nc;.,veli!lbe::::- 2 6, 2 12
                              lI 1
                             l/l(}              .../
REPLY TO             1~~
ATTN OF: /                   /wARDEN
                 '       I
             I           !
SUBJECT:!            I                        in Sntence
             \J''


TO:                                , Ping
                                     #: 50259- 53


 The Federal rviedical Cente -Bt:tner Tumor Board met on Nover:'.ber
 13, 2012 to .,...e,.riev..r your :r quest: for Reduct:.ion in Sentence.

 Your medical condition 'lie. ; revieNed t.o determine 'iJhet:her you
 meet <:.he Reduction in Sen .ence guidelines due to a declini!1.g or
 detericrat:.ing :r'"ealth cond .tion. You have a diagnosis of
 ~Jasopharyngec.l Carcinoma       The Oncolog-y team indicated you are
 in remissicn at         s timE:   You may reapply in the ::~.:ture if
  your car.cer reappears .

  We are committ:ed to prov• :ling you 'tJith the necessary
  appropriate care for        medical needs.




   cc:     A'l~




                                                                                     Def. Appendix 9


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U.. &. Department of Justice
Federal Bureau of Prisons                                         Request for Administrative Remedy
FCI I Butner ·                                                                    Part B ... Response


Admin Remedy Number:         747214~F1



This is in response to yourRequestfor Administrative Remedy, 747214-F1, receipted
August 22, 2013, in which 'you request to know when your throat will be repaired and your feeding
tube removed.

A review of this matter reveals you were diagnosed with naopharynageal. cancer and you received
chemotherapy and radiation. You had a barium swallow test performed in February 2013, which
concluded you were at risk for aspiration. Therefore, you are discouraged from consuming nutrition
orally. You have a nutritional supplement ordered that is to be consumed by way of your peg tube.

You have a Chronic Careappointmentscheduled on September 12, 201 's, to revlewyour status.
Your treatment plan and questions regarding your feeding .tube can be discussed with your physician
at that time.

Based on the above information, this response to your Request for Administrative Remedy is for
informational purposes only.                                     ·       ·

If dissatisfied with this .response, you may appeal to the Regional Director, Federal.Bureau of Prisons,
Mid~Atlantic.RegionEil Office, 302 Sentinel Drive, Suite 200, Annapolis Junction, Maryland, 20701.
your appeal must be received in the Regional Office within 20 days from the date of this respq8se,




                                                                             Def. Appendix 10


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                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                         NO.   5:14-CT-3163-FL

SHI DONG PING,                    )
     a/k/a Ping Dong Shi,         )
                                  )
                Plaintiff,        )
                                  )       DECLARATION OF L.C. EICHENLAUB
                v.                )
                                  )
WARDEN C. RATLEDGE, ET AL.,       )
                                  )
                Defendants.       )




     I, L.C. Eichenlaub, declare and state as follows:

     1.   I was previously employed by the United States Department

.of Justice, Federal Bureau of Prisons ("BOP"), as Regional Director

for the Mid-Atlantic Region.    I held this position from November 2009

to December 2014.    Following my employment as Regional Director, I

was Deputy Director of the BOP until my retirement on January 9, 2016.

     2.   As Mid-Atlantic Regional Director, I was responsible for

the oversight of fifteen institutions located in the BOP 1 s

Mid-Atlantic Region, including two correctional complexes and four

community corrections offices located in a six-state area.

     3.   I understand that I have been named as a defendant in the

above referenced case filed by federal inmate Shi Dong Ping, federal

register number 50259-053.      Plaintiff alleges that I, both


                                      1
                                                            Def. Appendix 11


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personally and in my official capacity, violated his Constitutional

rights by ignoring his requests for information regarding his medical

condition.   Plaintiff alleges that I had full knowledge of his

medical condition and the actions of the Utilization Review Committee

at the Federal Medical Center in Butner, North Carolina ("FMC

Butner"), and that I acted with deliberate indifference to his

serious medical condition.

     4.   Plaintiff alleges that I gained this knowledge through my

involvement in the BOP's administrative remedy process, through

which he filed two administrative remedies pertaining to his medical

condition.

     5.   Based upon a review of the applicable administrative remedy

program records, I know that the plaintiff requested a reduction in

sentence from the Warden at the Federal Correctional Institution in

Butner, North ,Carolina ("FCI Butner") based upon the plaintiff's

medical condition.    The Warden of the FCI Butner denied Plaintiff's

request finding that he did not meet criteria for a reduction in

sentence based on this medical condition.        Plaintiff appealed the

Warden's decision to the Mid-Atlantic Regional Office through the

BOP's administrative program (Remedy ID No.719410-R1).        On March 12,

2013, the plaintiff's regional administrative remedy appeal was

denied based upon the reasons provided in the Warden's prior denial

of the request for a reduction in sentence.         See Administrative


                                    2                       Def. Appendix 12


      Case 5:14-ct-03163-FL Document 39 Filed 03/17/16 Page 12 of 20
Remedy Regional Appeal, Remedy ID No.719410-R1        (March 12, 2013),

attached hereto as Attachment 1.

     6.   I did not sign the response to Regional Administrative

Remedy Appeal 719410-R1.     This response was signed by my Deputy

Regional Director, to whom I had delegated this duty.        At that time,

I would not have reviewed nor responded to the plaintiff's

administrative remedy appeal as it was handled by my Deputy Director ..

     7.   In August 2013, Plaintiff filed an administrative remedy

request with the Warden of FCI Butner in which he requested

information regarding his medical condition.         The Warden provided

an informational response to the plaintiff on September 10, 2013.

Plaintiff appealed the Warden's response to the Mid-Atlantic

Regional Office through the BOP's administrative program (Remedy ID

No.747214-R1).   On November 8, 2013, an informational response was

provided to the plaintiff's regional administrative remedy appeal.

See Administrative Remedy Regional Appeal, Remedy ID No.747214-R1

(Nov. 8, 2013), attached hereto as Attachment 2.

     8.   I did not sign the response to Regional Administrative

Remedy Appeal 747214-R1.     This response was signed by my Deputy

Regional Director, to whom I had delegated this duty.        At that time,

I would not have reviewed nor responded to the plaintiff's

administrative remedy appeal as it was handled by my Deputy Director.

     9.   I deny that I ever intentionally violated any of the


                                    3                       Def. Appendix 13


      Case 5:14-ct-03163-FL Document 39 Filed 03/17/16 Page 13 of 20
plaintiff's constitutional rights.          At no time did I or my Deputy

Director have any personal involvement in the medical care provided

to the plaintiff, nor did we have any involvement into the treatment

decisions made by his treatment providers or the Utilization Review

Committee at FMC Butner.        As the Regional Director, I was not

involved in the day-to-day decisions of FCI Butner or FMC Butner staff

as it relates to the medical care provided to inmates.

     Pursuant to 28 U.S.C.      §   1746, I declare under penalty of perjury

that the foregoing is true and correct to the best of my knowledge

and belief.
                       .---1(
     Executed this   IS         day of March, 2016.




                                      L.C. Eichenlaub
                                      Deputy Director (Retired)
                                      Federal Bureau of Prisons




                                        4                     Def. Appendix 14


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              ADMINISTRATIVr REMEDY REGIONAL APPEAL
                        Part B - Response


                                               Remedy ID No.: 719410-Rl
Date Filed: December 28, 20 2

You appeal the Warden's res1.'onse to your request for
administrative remedy.  You contend that due to regulation, you
are asking for my reconside·ation.

A review of your appeal rev,~als the Warden surrunarized the
reasons for the deni     of your Compassionate Release request.
1\fe concur with the explanat Lon as addressed in the Warden
November 26, 2012, Letter t ) you.     Your condition has been
sufficiently addressed and prescribed medication and treatment
 is appropriate. You are er, ::;ouraged to continue to ~vork with
 your primarv_pare provider ~earn for other health care related
issues and concerns.
Your appeal of the Warden'  response is denied.  If you are
dissatisfied with this response, you may appeal to the General
counsel, Federal Bureau of Prisons, 320 First Street, NW,
Washington, DC 20534. YouL appeal must be received in the
General Counsel's Office   thin 30 days from the date of this
 response.


                                        -t£. ichenlaub
 Date                                    Regional Director
                                         Mid-Atlantic Region




                                                              Def. Appendix 15


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                       ADMINISTRATIVE REMEDY REGIONAL APPEAL
                               PART B - Response

D.ate Jriled:       Septeiribe~   20., 2013            Remedy .ID No.: 7472l4,..Rl

 You appeal the. Warden's response to your request for
 administrative remedy.. You request a detailed explanation in
 writing regarding your throat condition. You further request to
 be to.ld why you are classified as recoveredi when. you can expect
·medical treatment to open your throat; and when your feeding
 tube would be re[\loved.

A review of your medical record reveals the Warden appropriately
summarized the medical care you are receiving. Most J;'ecently{
you were .evaluated by cl.inica:l staf.f at Chronic Care Clinic (CCC)
on Sept.efuber 12,. 201:3,· at which time you were :i.nforme.d you need
to wait a fewrrtore months to be sure you can properly swallow .
.again. before 'the peg .tube can pe removed.

Regarding your request for a detaile.d e~plar1ati.on in writing
regarding your throat condition, you should complete an Inmate
Request to Staff form to request copies of your· medica'l records.
        1       1                 I                                I


Your medical plar:t of care, developed and implemented by your
primary .care provider team, is adequate and complete. Your
conditi.on has been sufficiently addressed and prescribed
medication and treatment is appropriate. You are encouraged to
continue to w.ork with yo'llr primary .care rovider team for other
                                      .       .
                                                       P.


health ca:r::e related issues and concerns.

This response is for .informational purposes only. If you. are
dissatisfied with .thi . s l?esponse, you may appeal to the General
Counsel, Federal Bureau of Prisons, 320 First Street .NW,               I

Washington, De;! 20534. You:r- .appeal mus.t be re.ceived in. the
General Counsel'e:; Office within 30 days t'rom the date. of this
respopse.



                                                   /J;~
    NOV- 8 ·20fd

 Date                                             f4.chtcbenlaub • · ·
                                                   Regional D:i,r~ctor
                                                   Mid-Atlantic Region


                                                                       Def. Appendix 16


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I   I




                            IN THE UNITED STATES DISTRICT COURT
                        rOR THE EASTERN DISTRICT Of NORTH CAROLINA
                                     WESTERN DIVISION

                                     NO.     5:14-CT-3163-FL

        SHI DONG PING,
             a/k/a Ping Dong Shi,

                              Plaintiff,
                                                      DECLARTION OF
                              v.                      CHARLES RATLEDGE

        WARDEN C.     RATLEDGE,    ET AL.,

                              Defendants.

             I,     Charl~s    Ratledge,    declare and state as follows:

             1.      I am currently employed by the United States Department

        of Justice,     Federal Bureau of Prisons         (''BOP"),   as \!\)arden at the

        United States Penitentiary in Jonesville,             Virginia     ("USP Leeu)

        I have held this position since October 3,             2015.     Prior to

        becoming Warden at USP Lee,           I was Warden at the Federal

        Correctional Institution in Butner,            North Carolina      ("FCI

        Butneru)     from December 29,       2013,   through October 3, 2015.

             2.      As Warden of FCI Butner,        I was responsible for

        reviewing requests submitted by FCI Butner inmates for a

        reduction ln sentence,        pursuant to BOP Program Statement

        5050.49,                    e Release             ion in        ence .
             .,
             :;,.    I am familiar with FCI Butner inmate Shi Dong Ping,



                                                                            Def. Appendix 17


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                               1
Register No.· 50259 053.           I am aware that he has filed the above-

captioned federal civil rights action,          in which I am named as a

defendant.     Mr.    Ping alleges that I violated his Constitutional

rights by ignoring his requests for information regarding his

medical conditi6n.          He alleges that I had full   knowledge of his

medical condition, and the actions of the Utilization Review

Committee at the Federal IvJedical Center in Butner, North

Carolina     ("FMC   Butner~),     and that I acted with deliberate

indifference to his serious medical condition.

     4.     In the fall of 2014, Mr.        Ping submitted a request for a

reduction in sentence, based upon his medical condition.                 On

November 5,     2014,      I provided a written response to him,

informing him that medical staff rev1ewed his request,             and

determined that at the time he was not medically appropriate as

he did not meet the medical guidelines for a reduction in

sentence.     .§_ee Memorandum to Ping Shi,      50259-053,   from Warden J.

Andrews    (Nov.     26,   2012), attached hereto as Attachment 1.        I

informed Mr.       Ping of his right to appeal this decision via the

BOP's administrative remedy program.

     S.      I deny that I ever intentionally violated any of Mr.

Ping's constitutional rights.            At no time did I have any

personal involvement in the medical care provided to him,                nor

1
  Official BOP records list the plaintiff's name as Ping Dong
Shi.  However, for the purposes of responding to this
litigation, the plaintiff will be referred to as Shi bong Ping.
                                                    Def. Appendix 18
                                 2

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                                I '




did I have any involvement into the treatment decisions made by

his t rea tmen t providers or the Uti 1 i zat ion Rev ie~t.r Commit tee at

FMC Butner.    As the Warden,    I was not involved ln the day-to-day

decisions of FCI Butner staff as it relates to the medical care

provided to inmates.      The response to Mr.       Ping's request for

reduction in sentence was prepared for my signature by

administrative staff,     based upon a review of the appropriate

records,   including his medical records.

      Pursuant to 28 U.S.C. § 1746,          I declare under penalty of

perjury that the foregoing is true and correct to the best of my

knowledge and belief.

      Executed this 16th day of March,          2016.




                                      Warden
                                      United States Penitentiary - Lee
                                      Jonesville, Virginia




                                                              Def. Appendix 19
                                         3

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                                                            · U.S. Department of Justice
                                                              Federal Bureau of Prisons

                                                             Federal Correctional Complex
                                                             Federal Medical Center

                                                             P. 0. Box 1600
                                                             Butner, NC 27509

DATE:         November 5, 2014
                      ~·

REPLY TO       Charles Ratledge
ATTN OF:       Warden FC I Butner

SUBJECT:       Reduction in Sentence

TO:            Shi, Ping
               Reg. #: 50259-053

Mr. Shi:

Medical staff reviewed your request fora Reduction in Sentence from a medical standpoint to
determine whether you met the Reduction in Sentence guidelines due to a declining or deteriorating
health condition. Your medical team indicated you were diagnosed with nasopharyngeal carcinoma
in 2010. This was treated with radiation and chemotherapy with a good response. You have been
monitored by an Oncologist and an Otolaryngologist with no evidence of recurrence. The treatment
has left you with difficulty swallowing; however, you have maintained your weight with a nutritional
support solution. You are able to function in general population without assistance.

While you have this medical condition, you are stable at this time and your life expectancy is
indeterminate. You remain independent in your activities of daily living and are housed on an
outpatient unit. Your medical conditions are managed by the Health Services Department.
Therefore, you are not medically appropriate for reduction in sentence, as you do not meet the
medical guidelines at this time. However, if your medical conditions change, please feel free to
resubmit an Inmate Request to Staff (cop out) for consideration.                ·

You have the right to appeal this decision via the Administrative Remedy Process. If you choose to
appeal, you do not need to complete the informal review, but you would need to include a copy of this
memorandum with your appeal. Any decision regarding appeal will be handled in a manner outlined
in policy.

We are committed to providing you with the necessary and appropriate care for your medical needs.



cc:     AW
        Medical Records
        Unit Team
                                                                                Def. Appendix 20


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